                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                 Case No.: 1:17CR460-1
       v.

PAULA KAY BULLOCK,

                     Defendant.

                                     DECLARATION

       I, Carole Smith, hereby declare under penalty of perjury,     pursuant to 28 U.S.C.
$1746, that the following is true:

       1.    That I am an employee in the Office of the United States Attorney for the
Middle District of North Carolina and am a person of such age and discretion as to be
competent to serve process.

       2.     That on August 01,2019, a Judgment was entered against the Defendant, Paula
Kay Bullock, for criminal monetary penalties.

       3.      That a copy of the Application for Writ of Continuing Gamishment, Notice to
Defendant Debtor, Writ of Continuing Gamishment, Answer of the Garnishee, Claim for
Exemptions and Instructions were deposited in the United States Mail for mailing by certified
mail, return receipt requested on December 23,2019, properly addressed to the Defendant
as follows: Paula Kay Bullock, Register No.: 34142-057, FCI Coleman Low P.O. Box
1021, Coleman, FL 33521-1029.

       4.   That a copy of the original return-receipt, showing date of service as
December 27,2019, is attached hereto and made apartofthis Declaration of said Application
for Writ of Continuing Garnishment, Notice to Defendant Debtor, Writ of Continuing
Garnishment, Answer of the Garnishee, Claim for Exemptions and Instructions.

       5.     That the Defendant herein has been duly served with the process as provided
by Rule 5(b) of the Federal Rules of Civil Procedure.




            Case 1:17-cr-00460-LCB Document 78 Filed 01/09/20 Page 1 of 3
      I hereby declare under     penalty of perjury pursuant to 28 U.S.C. $ 1746 that the
foregoing is true and correct to the best of my knowledge, information and belief.

      Executed on 9 January 2020, in Greensboro, North Carolina.



                                                 efrilt- Cnuo
                                               Carole Smith
                                               Paralegal Specialist
                                               Financial Litigation Unit




        Case 1:17-cr-00460-LCB Document 78 Filed 01/09/20 Page 2 of 3
r       Comolete iiems 1, 2, and 3. Also complel€
        item 4 il Restricted D€livery is desir€d.
I       Print your nams and addr€ss on the reverse
        so that we can retum lhe card to You.
r       Attach this cad to the back ot the mailpiece'
        or on the fiont il sPac€ Permiis.
1   .   Article MdrBas€d lo:




        Paula KaY Bullock
        Register No 3,.142-057
        FCI Coleman
        P O Box 1021
                                                                         3.:
        Coleman. FL 33521                                                                 all   O   Expr€sr Mdl
                                                                                              E     F€tum Recslpt for Merchandiso
        USAv Pauh      KaY   EulkE(   1 17CR4@1                             E   lBur€d   Malt E     C.O.o.

                                                                         4. R6tric{.d DeliveM Ertra    F€o,         tr   Y€s

                                                    "
2. Alticle Number
         (ftansfet   lft
                                                        ?nr,:r, n11B       o[oI ?E3t 1I3I
PS Form          38                               ltlrlIrrr,Ir,,illl,il,lr,,lh,ilrrl,,t[|l,,il,lrtltl,lr




Case 1:17-cr-00460-LCB Document 78 Filed 01/09/20 Page 3 of 3
